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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                     )
                                              )
v.                                            )
                                              )       Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                        )
                                              )
                Defendant.                    )


          DEFENDANT PAUL J. MANAFORT, JR.’S MOTION FOR LEAVE
         TO FILE OPPOSTION TO GOVERNMENT’S MOTION TO MODIFY
        THE COURT’S SCHEDULE FOR RULE 404(b) NOTICE AND BRIEFING

         Defendant Paul J. Manafort, Jr., by and through counsel, hereby moves for leave

to file an opposition to the Government’s Motion to Modify the Court’s Schedule for

Rule 404(b) Notice and Briefing (“Government’s Motion”).              (Dkt. # 155).     The

Government’s Motion was filed in response to the Minute Order entered on January 17,

2018.

         In the Court’s order, the parties were instructed to “notify the Court if they have

any objections to this schedule as a whole by January 19, 2018.” See Jan. 17, 2018

Minute Order (emphasis supplied). The defendant understood the Court’s order to mean

that the scheduling order should be considered in toto, taking into account all filing

deadlines for motions, the time allotted for oppositions and replies, etc. Simply put, the

defendant understood that the parties should notify the Court only if they objected to the

overall schedule – not to any specific deadlines. Otherwise, the words “as a whole”

would be superfluous in the Minute Order.

         The Government, however has moved to modify the scheduling order with respect

to a specific deadline set forth in the overall schedule established by the Court; i.e., the

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notice and briefing of Rule 404(b) evidence. (Dkt. # 155). Accordingly, Mr. Manafort

seeks leave to respond to the Government’s Motion if the Court is inclined to consider

the specific modification to its schedule as a whole, as set forth in the Minute Order dated

January 17, 2018.

Dated: January 24, 2018                              Respectfully submitted,


                                                     ______________________________
                                                     Kevin M. Downing
                                                     (DC Bar # 1013984)
                                                     Thomas E. Zehnle
                                                     (DC Bar #415556)
                                                     815 Connecticut Avenue
                                                     Suite 730
                                                     Washington, DC 20006
                                                     (202) 754-1992




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